                               UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NORTH CAROLINA
                                     SOUTHERN DIVISION

CTB, INC,                                     )
                                              )
               Plaintiff,                     )
                                              )
v.                                            )       JUDGMENT
                                              )
HOG SLAT INCORPORATED                         )       No. 7:14-CV-157-FL
                                              )
               Defendant.                     )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, for
consideration of defendant’s motion for summary judgment, plaintiff’s motion for partial summary
judgment, defendant’s motion in limine to exclude plaintiff’s expert Rhonda Harper and defendant’s
unopposed motion requesting hearing on defendant’s motion in limine.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
August 23, 2018, and for the reasons set forth more specifically therein, that plaintiff’s motion for
partial summary judgment is denied, defendants’ motion for summary judgment is granted. The
remaining motions are denied as moot.

This Judgment Filed and Entered on August 23, 2018, and Copies To:
David J. Marr / Anthony Terrell Lathrop / Eric Dorkin / James A. O’Malley / Jennifer L. Woods
/ Timothy M. McCarthy / Christopher Bradley Clare (via CM/ECF Notice of Electronic Filing)

Gilbert C. Laite, III / Richard T. Matthews / Andrew Robert Shores / Martin W. Hayes / Robert
C. Van Arnam (via CM/ECF Notice of Electronic Filing)

August 23, 2018                       PETER A. MOORE, JR., CLERK
                                        /s/ Sandra K. Collins
                                      (By) Sandra K. Collins, Deputy Clerk
